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From: Gregory J Brannock <
Date: Fri, Feb 19, 2021 at 10:57 AM
Subject: Character reference
To: <



Dear Honorable Judge, Sir or Madam,

Hello. I am writing in reference to Jessica Watkins,
who is appearing before your court due to her
entering the Capital Building.

Jessica Watkins is a friend of mine, and I do care
about her future, and I want to try to make you feel
the same way.

Jessica Watkins is a person of good moral
character. I realize that might seem hard to believe,
given the circumstances, but it’s true nonetheless. I
have known Jessica Watkins for several years, and in that
time she has spoken about her service in the
military, wanting to be there for her country and
people, to joining a fire department and learning to
be an EMT. I have seen her go through ups and
downs, and all the while remaining a decent,
passionate, caring person at the core. She just
needs more people to believe in her and not label
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her a villain as some would portray her as a result
of the actions of others.

Jessica Watkins has made mistakes, and she is
incredibly remorseful, and is willing to take
responsibility for actions. But to do that, she needs
you to give her an opportunity to get a second
chance. I recognize that Jessica broke the law, and I
do not believe that she should get off without
punishment but not as severe as those who were
there to hurt law enforcement agents and
politicians. To label her an insurgent is farfetched.
She followed a crowd indoors which was a mistake.
She wasn’t there to harm anyone only to help if
people were injured. I just hope you will recognize
the power you wield with regard to the future of
this woman, and make a fair decision.


Thank you,
Gregory Brannock
